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 8                                     UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           Case No: 1:12-CR-000035-DAD-BAM-1
12                        Plaintiff,                     STIPULATION AND ORDER
                                                         REGARDING CONTINUANCE OF
13          v.                                           SENTENCING
14   BONNIE LYNN RECINOS,
                                                         DATE: November 7, 2016
15                        Defendant.                     TIME: 10 a.m.
                                                         Hon. Dale A. Drozd
16

17          Defendant by and through her counsel of record and Plaintiff by and through its counsel of

18   record, hereby stipulate as follows:

19          1. By previous order, this matter was set for a sentencing hearing on Monday, November

20   7, 2016 at 10 a.m.

21          2. By this stipulation, the parties now move to continue the sentencing date to March 20,

22   2017 at 10:00 a.m.

23          3. The parties agree and stipulate and request that the court grant the continuance due to

24   Ms. Recinos’ health issues.

25          4. Due to her multiple sclerosis and needed two-procedure back surgery (which has now

26   been scheduled for November and December), defendant Recinos’ doctor will not let her travel

27   until March of 2017. As she has many other medical issues that are in treatment at this time, she

28   is requesting her sentencing be continued to March 20, 2017 at 10 a.m.
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 1   DATED: October 20, 2016                              Respectfully submitted,

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 3                                                        /s/Barbara Hope O’Neill
                                                          BARBARA HOPE O’NEILL
 4                                                        Attorney for Bonnie Lynn Recinos

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 6   DATED: October 20, 2016                              /s/Henry Z. Carbajal, III
                                                          HENRY Z. CARBAJAL, III
 7                                                        Assistant United States Attorney

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10                                               ORDER

11          The Court has reviewed and considered the stipulation of the parties to continue the

12   sentencing in this case. Good cause appearing, the sentencing hearing as to Bonnie Lynne

13   Recinos previously set for November 7, 2016, is continued to March 20, 2017, at 10:00 a.m. in

14   Courtroom 5 before District Judge Dale A. Drozd.

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     IT IS SO ORDERED.
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17      Dated:    October 21, 2016
                                                         UNITED STATES DISTRICT JUDGE
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